                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION



   THE STATE OF TENNESSEE, et al.,                      Case No. 3:21-cv-00308

                      Plaintiffs,                       District Judge Charles E. Atchley, Jr.

            v.

   UNITED STATES DEPARTMENT OF
   EDUCATION, et al.,

                      Defendants.



     DEFENDANTS’ MOTION TO STAY, OR IN THE ALTERNATIVE TO EXTEND
                       THE ANSWER DEADLINE

         Defendants respectfully request that the Court stay Defendants’ deadline to Answer the

  Complaint until 14 days after the Court resolves the parties’ cross-motions for summary judgment.

  In the alternative, Defendants request that the Court extend Defendants’ deadline to Answer the

  Complaint for 60 days, or until September 27, 2022. Defendants’ counsel has conferred with Plaintiffs’

  counsel regarding this motion, who has stated that Plaintiffs consent to an extension until August 15,

  2022, but otherwise oppose this motion.

         Good cause exists to grant this motion, as follows:

     1. On July 15, 2022, the Court issued a Memorandum and Order granting Plaintiffs’ motion for

         a preliminary injunction, and denying the Defendants’ motion to dismiss. ECF No. 86.

         Specifically, the Court found that Plaintiffs had standing, the case was ripe, the challenged

         documents were reviewable final agency actions for which Plaintiffs had no adequate

         alternative remedy, Plaintiffs had demonstrated a likelihood of success on the merits of at least




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          one of their claims, and the remaining preliminary injunction factors weighed in Plaintiffs’

          favor. See ECF No. 86.

     2. The Court preliminarily enjoined and restrained Defendants from implementing the

          challenged documents against Plaintiffs. Id. at 46.

     3. Currently, the deadline to answer the Complaint is July 29, 2022.

     4.   Defendants are in the process of assessing the July 15 decision and determining appropriate

          next steps, including comprehensive discussions with agency counsel and program offices as

          well as with other components of the Department of Justice regarding ongoing compliance

          with the Court’s injunction. That process would be delayed if Defendants were required to

          quickly file an Answer to Plaintiffs’ 35-page Complaint.

     5. Moreover, this Court determined that the issues in this litigation are “purely legal,” ECF No.

          86 at 19, and it is therefore unlikely that an Answer to Plaintiffs’ factual allegations in the

          Complaint will meaningfully further this litigation.

     6.   Where a case presents purely legal issues, courts have often deferred the Answer deadline until

          after summary judgment. See, e.g., See, e.g., Scheduling Order ¶ 6, ECF No. 10, Transp. Trades

          Dep’t, AFL-CIO v. Nat’l Mediation Bd., No. 1:19-cv-3107 (D.D.C. Dec. 20, 2019) (“The deadline

          for Defendant to file an Answer shall be suspended pending the Court’s resolution of the

          Parties’ Cross-Motions for Summary Judgment”); see also Fed. R. Civ. P. 56(b) (a party may file

          for summary judgment “at any time until 30 days after the close of all discovery,” including

          prior to filing an Answer). In a factually similar case, the Northern District of Texas has stayed

          the answer deadline until after summary judgment. See Texas v. EEOC, 3:21-cv-00308 (N.D.

          Tex. 2021), ECF No. 55.




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      7. Accordingly, Defendants request that the Court stay the Answer deadline until fourteen days

          after resolution of the parties’ cross-motions for summary judgment. Such a stay will allow

          the litigation to proceed efficiently and prevent the potential waste of resources.

      8. In the alternative, should the Court decline to grant a stay, Defendants request that the Answer

          deadline be extended for 60 days, to permit Defendants sufficient time to confer regarding

          next steps in this case, and to prepare an Answer. See Fed. R. App. Pro. 4(a)(1)(B) (a notice of

          appeal may be filed within 60 days when the Government is a party).

      9. An extension is also reasonable and warranted due to several upcoming deadlines and other

          scheduling conflicts for undersigned counsel. These include, variously, several motions for

          summary judgment and an opposition to a preliminary injunction motion, a deposition, an

          oral argument, and upcoming administrative leave.

      10. In light of the fact that the preliminary injunction has provided them with temporary relief,

          Plaintiffs are not prejudiced by this extension of the Answer deadline. Moreover, the fact that

          Plaintiffs have agreed to extend the deadline until August 15 also indicates that Plaintiffs at

          least implicitly recognize there is no imminent need for an Answer in this case.

      11. Defendants remain open to conferring with Plaintiffs regarding next steps in this case,

          including setting a schedule for producing any Administrative Record, or for summary

          judgment. Defendants do not object to beginning those negotiations prior to the filing of the

          Answer, and welcome any proposal Plaintiffs may wish to share in the interim.

          For the foregoing reasons, Defendants’ respectfully assert good cause to stay, or in the

  alternative seek an extension of time to file, their Answer.




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   Dated: July 26, 2022                    Respectfully submitted,

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                                           /s/ Martin M. Tomlinson_______
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